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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RACHEL WITLIEB BERNSTEIN, : Index No.: 17-cv-9483(DAB)

Plaintiff,
v.

BILL O’REILLY,

Defendant.

 

 

PLAINTIFF BERNSTEIN’S BRIEF IN OPPOSITION TO
DEFENDANT BILL O’REILLY’S MOTION TO DISMISS

 

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PRELIMINARY STATEMENT

This Court has already determined that New York defamation law applies to plaintiff's
claims. (3/5/19 Slip Op. 9). On March 14, 2019, the Appellate Division of the Supreme Court of
New York issued a comprehensive ruling on New York defamation law addressing nearly
identical arguments to those made by defendant here. Zervos v. Trump, 94 N.Y.S.3d. 75 (N.Y.
App. Div. 2019). Yet defendant does not mention the Zervos ruling in his motion.’ Defendant
O’Reilly cites numerous unpublished, old, and irrelevant rulings but ignores Zervos, a decision
that is directly on point and that requires denial of defendant’s motion.

Because defendant O’ Reilly is unable to distinguish the determination by a New York
Appellate Court that the Zervos Complaint meets the pleading standard under New York
defamation law, defendant O’Reilly’s motion to dismiss must be denied.

STATEMENT OF FACTS

Plaintiff Rachel Witlicb Bernstein relies on the allegations in the revised Second
Amended Complaint for her Statement of Facts. The allegations in the Complaint must be
accepted as true for purposes of this motion.

POINT I

PLAINTIFF’S COMPLAINT CLEARLY MEETS THE
PLEADING STANDARD UNDER NEW YORK DEFAMATION LAW

After Summer Zervos and several other women described unwelcome harassment by
Donald Trump, Trump publicly claimed to have “facts” which would show the women were not

telling the truth. See Mullin Dec., Ex. A (Zervos Complaint). Trump claimed that the women

 

1 Zervos was decided on March 14, 2019. Defendant’s brief in this Court was filed more
than a month later on April 25, 2019.
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complaining of harassment were financially and politically motivated. In this case, when The
New York Times revealed that defendant Bill O’ Reilly (and/or his employer Fox News) had paid
at least five women settlements when they complained about his harassment, he claimed to have
“facts” which would show that the women were not telling the truth, He, like Trump, claimed
the women were financially and politically motivated. Clarifying and applying New York
defamation law, the law relevant to this case, the Appellate Court in Zervoes found that Ms.
Zervos’ defamation action was properly pled. Ms. Bernstein’s Second Amended Complaint is
almost identical. See Mullin Dec., Ex. A (Zervos Complaint).

The Zervos Complaint alleges that after Ms. Zervos revealed several unwelcome sexual
encounters with Donald Trump, Trump defamed her by saying things such as:

. “These allegations are 100% false ... They are made up, they never happened . . .

It’s not hard to find a small handful of people willing to make false smears for

personal fame, who knows maybe for financial reasons, political purposes.”

° “Nothing ever happened with any of these women. Totally made up nonsense to
steal the election.”

° “False allegations and outright lies, in an effort to elect Hillary Clinton President
... False stories, all made-up . . . all big lies...”

(Zervos Complaint, 4 45-78; Mullin Dec., Ex. A).
Ms. Zervos’ legal claims are summarized by the New York Appellate Division as
follows:

On January 17, 2017, plaintiff commenced this action against
defendant who in November 2016 had been elected President of
the United States. Plaintiff alleged that the above statements by
defendant were false and defamatory, and that defendant made
them “knowing they were false and/or with reckless disregard for
their truth or falsity.” Plaintiff alleged that the statements about
her were “defamatory per se,” because “they would tend (and did)
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injure [her] trade, occupation or business,” that “[b]eing branded a
liar who came forward only for fame or at the manipulation of the
Clinton campaign has been painful and demoralizing,” and that as
a direct result of those statements, she has suffered “both
emotionally and financially.” She also alleged that defendant’s
statements “have been deeply detrimental to [her] reputation, honor
and dignity.” The complaint seeks an order directing defendant to
retract any and all defamatory statements and/or apologize for such
statements, as well as an order directing defendant to pay’
compensatory and punitive damages.

(Zervos, supra at 79-80),

Ms. Bernstein’s most recent revised Second Amended Complaint makes the same
allegations (See subheading A, infra). In holding that the Zervos Complaint properly pleads
defamation under New York law, the Appellate Court ruled on the exact same arguments made
by defendant O’ Reilly here.

A. The Zervos Decision Requires Rejection of O’Reilly’s
Argument That His Statements About Plaintiff —
And Other Women He Abused — Were “Opinion”

Defendant O’ Reilly claims that his statements about plaintiff Bernstein — and his other
victims — are opinion. (Db 9). Trump made the same argument. (Trump App. Brief, p. 27;
Mullin Dec., Ex. B). The court rejected it:

In determining whether a “reasonable” reader would consider that
defendant’s statements that plaintiff lied about their encounters
connotes fact or nonactionable opinion, there are three relevant
factors to be considered holistically: (1) whether the statements
have a “precise meaning” that is “readily understood”; (2) whether
the statements can be proven true or false; and (3) whether either
the context in which the statements were made or the “broader
social context and surrounding circumstances [were] such as to
signal ... readers or listeners that what [was] being read or heard
[was] likely to be opinion, not fact: (Davis v. Boeheim, 24 NY3d at
270 [2014] [internal quotation marks omitted]).
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Here, defendant’s denial of plaintiff's allegations of sexual
misconduct is susceptible of being proven true or false, since he
either did or did not engage in the alleged behavior. To be sure, a
denial, which is a statement of purported fact and not mere
opinion, does not always provide a basis for a defamation claim,
even though it implicitly claims that the alleging party is not telling
the truth. However, a denial, coupled with the claim that the
accuser 1s or will be proven a liar, impugns a person’s character as
dishonest or immoral and typically crosses the line from
nonactionable general denial to a specific factual statement about
another that is reasonable susceptible of defamatory meaning (see
McNamee v. Clemens, 762 F.Supp.2d 584, 601 [ED NY 2011)).

Zervos, Supra at 88.

Defendant O’Reilly baselessly argues that he did not claim to have specific facts which
would show that plaintiff was not telling the truth — and was, therefore, a liar. (Db 19). Plaintiff
Bernstein’s Second Amended Complaint clearly shows many examples of defendant O’ Reilly
doing just that. For example, O’Reilly made the following statements:

° after his “investigation” he would give the public “facts,”
“no he said she said. Facts. Cold stone facts. Shocking
the defamation that can occur.”

(Second Amended Complaint, § 37) (emphasis supplied).

° MR. O’REILLY: My conscience is clear. What I have done is organized
a legal team to get the truth to the American people.

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° MR, O’REILLY: You know, nobody’s a perfect person, but I can go to
sleep at night very weil knowing that I never mistreated anyone on my
watch in 42 years.

® MR. O’REILLY: I’ve been in this business, I’ve worked for 12 companies;
not one time did I have any interaction with HR or any complaints
filed against me.
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(id. at 4 38) (emphasis supplied). ‘
° ... we have physical proof that this is bullshit. Bullshit. Okay? So, it's
on you, if you want to destroy my children further. All right? Because it's
all crap.
* OR OR
e This is crap, and you know it. It's politically and financially

motivated, and we can prove it, with shocking information.
(id. at 4 46) (emphasis supplied).

° “Never give up telling the truth. Never give up protecting your
family...... I’m going to go down fighting and I’m going to go down
telling the truth.”

(Ud. at 4 54) (emphasis supplied).

® “But we are now going to confront everybody in court. That’s where
we’re going to adjudicate, in my situation. We’ve already filed one
lawsuit and we’ve got others ready to go.”

(id. at 4 55) (emphasis supplied).
Clearly, under the controlling New York defamation law, defendant O’Reilly is not
entitled to dismissal based on his claim that the statements at issue are purely opinion.
B. The Zervos Decision Requires Rejection of O’Reilly’s Argument
That His Statements Regarding the Women Who Complained
About Him at Fox News Were Not “Of and Concerning” Plaintiff
Defendant O’Reilly argues that plaintiff Bernstein was “not the subject” of his statements
because he never said her name. (Db 2, 5-6). Trump made the same argument claiming that he

never said Ms. Zervos’ name. (Trump App. Brief, p. 34-35; Mullin Dec., Ex. B). The court

rejected it:
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Defendant’s argument that some of the alleged defamatory
statements are not “of and concerning plaintiff” is also without
merit. Even where statements alleged by plaintiff do not refer to
her by name, most of the challenged statements could reasonably
be considered of and concerning her. Defendant began making the
challenged statements immediately after plaintiff gave her press
conference and they were all made within eight days thereafter.
The “allegations” that defendant’s statements attack as false and
politically motivated and the “events” the statements claim “never
happened” are easily understood as relating to plaintiff's
accusations, as well as the accusations by other women who had
come forward by that time (see Elias v. Rolling Stone, 872 F3d 97,
108 [2d Cir 2017]).

(Zervos, supra at 89).

Although the question of whether a statement 1s “of and concerning” plaintiff is a jury
question, Harwood Pharmacal Co. v. National Broadcasting Co., 9 N.Y.2d 460, 462, 214
N_Y.S.2d 725, 174 NE. 2d 602 (1961), it was so clear in Zervos that Trump’s statements were
about Ms. Zervos that the Appellate Court ruled that Trump’s arguments were without merit.
Zervos, supra at 89. In this case, the statement made by O’Reilly in the April 1, 2017 New York
Times article which named plaintiff by name was also clearly “of and concerning” her. The
numerous other defamatory statements were made in reference to The New York Times article
which named only five women, including plaintiff Bernstein. Clearly, the five women named are
part of “a particular, specifically-defined group of individuals” that included plaintiff. Three
Amigos SJE Rest., Inc. v. CBS News, Inc,., 28 N.Y¥.3d. 82, 87 (2016).

Cc. The Zervos Decision Requires Rejection of O’Reilly’s
Claims That None of His Statements Were Defamatory

Defendant O’Reilly claims that none of the statements contained in the Second Amended

Complaint (over 47 of them) are defamatory. (Db 22). Defendant argues that none of his
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statements subjected plaintiff to hate, ridicule or shame. By making this argument in a motion to"

dismiss, defendant completely ignores the actual and specific allegations of ridicule and hatred
pled in the Complaint as well as the applicable legal standard on a motion to dismiss, (Second
Amended Complaint, 7 74-81).

Trump made the same argument about the eighteen (18) statements Ms. Zervos outlined
in her complaint. (Zervos Complaint, [f 55-76; Mullin Dec., Ex. A; Trump App. Brief, p. 6;
Mullin Dec., Ex. B). Those statements are remarkably like the statements made by O’Reilly in
this case — only defendant O’ Reilly made many more defamatory statements over a longer time
period.

Like Trump, defendant O’Reilly tries to say that his public persona somehow gives him
political context in which he has license to defame. In this latest motion to dismiss, defendant
O’Reilly portrays his public racist, sexist, xenophobic hate-mongering as “pugnacious, anti-
political correctness.” (Db 3). Trump similarly sought to avoid answering in court for his
defamatory statements arguing that acrimonious political battles excuse such liability. The
Zervos Court rejected that argument:

Defendant further argues that the statements, are nonactionable
given the political context in which he made them. We recognize
that in light of the hotly contested 2016 campaign, not to mention
the fora in which the statements were made (defendant’s Internet
posting, campaign literature, rallies, and debates), the average
reader would largely expect to hear the vigorous expressions of
personal opinion, rather than rigorous and comprehensive
presentation of factual matter. However, defendant’s flat-out
denial of a provable, specific allegation against him concerning his
own conduct, accompanied by a claim that the accuser was lying,
could not be viewed even in that context as a rhetorical statement

of pure opinion or as “vague, subjective, and lacking in precise
meaning” (Jacobus v. Trump, 156 A.D.3d 452, 453 64 N.Y.S.3d
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889 [1st Dept. 2017], Jv denied 31 N.Y. 3d 903, 2018 WL 1597479
{2018]). Nor is there any support for defendant’s claim that such <
statements when made in the context of a heated political
campaign are protected political speech. Indeed, claims for
defamation may arise out of acrimonious political battles (see
Silsdorf v. Levine, 59 N.Y. 2d 8, 462 N.Y.S.2d 822, 449 N_E.2d 716
[1983], cert. denied 464 US. 831, 104 S.Ct 109, 78 L.Ed 2d 111
[1983]).
Zervos, supra at 89,

Thus, being a loud-mouth political hate-monger does not excuse defamation under New

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York law.

D. The Zervos Decision Requires Rejection of
O’Reilly’s Argument That He Did Not Use the Word
“Liar” and Therefore the Complaint Should be Dismissed

Defendant O’Reilly argues that absent his use of the actual words “liar” and
“extortionist,” plaintiff's complaint for defamation must be dismissed. (Db 1, 24). Trump made
the same argument about the word “liar.” (Trump App. Brief, p. 33, Mullin Dec., Ex. B).
Although defendant Trump claimed he never actually described Ms. Zervos as a “liar,” the court
analyzed the facts in Zervos with the understanding Trump alleged there are “undisclosed facts”
which would show that Ms. Zervos “is not telling the truth,” adopting the case relied upon by
plaintiff Bernstein in opposing defendant’s previous motion to dismiss, Davis v. Boeheim, 24
N.Y.3d 262, 22 N.E.3d 999, 998 NYS. 2d 131, 312 (2014):

The use of the term liar could be perceived in some cases as no
more than rhetorical hyperbole that is a nonactionable personal
opinion (see Davis, 24 NY3d at 271, citing Independent Living

Aids, Inc. v. Maxi-Aids, Inc., 981 F.Supp. 124, 128 [ED NY
1997]). However, that is not the case here, where, again, defendant

used the term in connection with his specific denial of factual

allegations against him, which was necessarily a statement by him
of his knowledge of the purported facts. Further, although

defendant’s statement that plaintiff was motivated by financial gain
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was not accompanied with recitation of the “facts” upon which it
was based, and although it did not plainly imply that it was based <
on undisclosed facts, the statement could be viewed by a

reasonable reader as containing the implication that defendant
knows certain facts, unknown to his audience, concerning

organized political efforts to destroy his campaign, which supports
his opinion. Given that, the complaint at the very least includes

allegations of “mixed opinion” that are actionable. (see Davis, 24
N.Y. 3d at 271-73, 998 N.Y.S.2d 131, 22 N.E.3d 999),
(Zervos, supra at 88-89) (emphasis added).
As shown in subsection A above, defendant O’ Reilly clearly stated that he knew facts
about Ms. Bernstein’s allegations which would prove them false.
E. The Zervos Decision Requires Rejection of O’ Reilly’s
Argument That His Statements Could Not be Defamation
Per Se and That Plaintiff Has Not Properly Pled “Special Damages”
Defendant O’Reilly argues that repeatedly accusing plaintiff Bernstein of wanting him to
pay her to avoid negative publicity (which is the textbook description of the serious crime of
extortion) (Second Amended Complaint, { 32) is not defamation per se. (Db 1, 4, 7, 10).
Plaintiff will respond to O’Reilly’s argument about extortion infra at “G,” p. 11. Defendant
O'Reilly also claims that plaintiff has not alleged specific “special damages.” (Db 13).
Trump argued that his statements that Ms. Zervos was lying and politically and

financially motivated were not defamation per se. (Trump Supreme Court Brief, p. 37; Mullin

Dec., Ex. C). Trump also argued that Ms. Zervos did not provide specific facts to support her

 

* Defendant O’Reilly also states — completely falsely — that plaintiff did not add facts to
her damages allegations. (Db 13). In fact, plaintiff added more specific damages allegations.
(Second Amended Complaint, 4] 74-81).
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“special damages” claim for $2,914.00 (made in the alternative).* (Trump Supreme Court Brief, -
p. 37; Mullin Dec., Ex. C).
The trial court in Zervos rejected those arguments and refused to dismiss the Zervos
Complaint which pled defamation per se and special damages of $2,914.00.7 Plaintiff has a
stronger argument for defamation per se, because defendant O’ Reilly accused her of a serious
crime, i.e., extortion. Additionally, pleading in the alternative, plaintiff Bernstein alleges special

damages of $6,500 — more than Ms. Zervos — and clearly sufficient under New York law.

F. The Zervos Decision Requires Rejection of O’ Reilly’s
Claim That His Statements Were About the Media — Not Plaintiff

In a particularly tortured and dishonest portrayal of the statements contained in the
revised Second Amended Complaint, defendant O’Reilly claims that his allegations of political
and financial motivations were leveled at “the media,” not plaintiff Bernstein and the small
identifiable group of women to whom he (and/or Fox News) paid settlements when they
complained about his abuse. (Db 17-18). That argument defies reality. For example,
defendant’s statements claiming his “investigation” would uncover “facts” as opposed to “he said
she said” are not about the media. (Second Amended Complaint, { 37).

Trump made the same argument that his statements were about the media. (Trump App.

Brief, pp. 35-36; Mullin Dec., Ex. B). The Appellate Division obviously rejected it.

 

? Although this Court was “confused” by plaintiff pleading in the alternative (Slip Op., p.
10, footnote 5), pleading in the alternative is “expressly permitted by CPLR (see §§ 3014 and
17); Volt Systems Development Corp. v. Raytheon Co., 155 A,_D.2d 309, 547 N.Y.S.2d 280.” Two
Queens, Inc. v. Scoza, 296 A.D. 2d 302, 303, 745 N_Y.S.2d 317, 519 (2002). See also, Zervos v.
Trump, supra, where the court accepted Ms. Zervos’ pleading in the alternative.

* The Appellate Court left that ruling undisturbed.

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In his argument, defendant turns the standard on a motion to dismiss on its head. At the -
pleading stage, courts must accept the allegations of the complaint as true and, reading the
complaint in conjunction with supplementing affidavits, a motion to dismiss must be denied
“fi|f, upon any reasonable view of the stated facts, plaintiff would be entitled to recovery for
defamation.” Davis v. Boeheim, supra at 268. Especially in light of the Zervos ruling, a jury
should decide whether the numerous statements contained in Bernstein’s Second Amended

Complaint are “of and concerning plaintiff’ and defamatory.

G. Defendant O’Reilly Has Accused Plaintiff of the
Serious Crime of Extortion, Which is Defamation Per Se

Obviously, accusing a person of telling lies for financial reasons is defamatory under New
York law. The Zervos Court just affirmed that. Here, defendant O’Reilly went even further than
the statements at issue in Zervos. Defendant O’Reilly falsely accused plaintiff of extortion, a
serious crime. Discussing the settlements he paid to Ms. Bernstein and other women, defendant
O’Reilly stated repeatedly that he is:
“vulnerable to lawsuits from individuals who want me to pay
them to avoid negative publicity.” O’Reilly stated repeatedly
that plaintiff's complaints about him in 2002 were “financially
motivated” and a “financial hit job.”
(Second Amended Complaint at { 64).
Thus, defendant O’Reilly charged plaintiff with a serious crime. New York
Consolidated Laws, Penal Law Section 155.05 2(e) defines the crime of larceny as including:
“Tal person obtains property by extortion when he compels or induces another person to deliver

such property to himself or to a third person by means of instilling in him a fear that, if the

property is not so delivered, the actor or another will: (v) [e]xpose a secret or publicize an

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asserted fact, whether true or false, tending to subject some person to hatred, contempt or ridicule:

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2? (ld. at 465).

Defendant O’Reilly’s argument — that because he did not use the term “extortion” and

that his statements cannot be understood to allege extortion — is absurd. (Db 1, 4, 8). Under

defendant’s theory, one can say that a person provides sex for money — but that is not an

accusation of the crime of prostitution. Or one could say a person used a gun to get money from

a store clerk — but that is not an accusation of armed robbery. Clearly, under the motion to

dismiss standard, defendant has accused plaintiff of a serious crime — the actual definition of

extortion. Accusing plaintiff of extortion is defamation per se.

POINT H

O’REILLY IS BOTH A THIRD PARTY BENEFICIARY AND AN
ASSIGNEE TO THE SETTLEMENT AGREEMENT HE BREACHED

Paragraph 4a of the 2002 Severance Agreement and General Release signed by plaintiff

provides:

Released Actions/General Release: With the singie exception described in
paragraph 4(s), Wittlieb [sic] (on behalf of herself and all her heirs,
assigns, legal representatives, successors in interest, or any person
claiming through her) releases Fox and tts divisions, subsidiaries, parents
and all other affiliated corporations, as well as all their current and
former employees, officers, directors, agents, shareholders, attorneys,
accountants, partners, insurers, advisors, partnerships, assigns, successors,
heirs, predecessors in interest, joint venturers, and affiliated persons,
including, without limitation, Household Ine. (collectively “Released
Parties”) from all liabilities, causes of actions, charges, complaints, suits,
claims...

(Severance Agreement, Mullin Dec., Ex. D) (Emphasis added).

In the revised Second Amended Complaint, plaintiff Bernstein states:

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Upon information and belief, Household Inc. is a company under .
which Bill O’Reilly did business. /

(Second Amended Complaint, { 26).

In this motion, defendant O’ Reilly does not dispute that Household Inc. is a company
under which Bill O’Reilly did or does business. Thus, Bill O’Reilly is a third-party beneficiary
of the Release as an “employee” of Fox News and through Household Inc., his company.
O’Reilly is also an assignee, something his motion completely ignores.

The Settlement Agreement provides:

Non-Disparagement: Wittlieb (sic) and Fox each agree not to
disparage, trade libel, or otherwise defame each other, and in the
case of Fox, Wittlieb (sic) agrees not to disparage, trade libel, or
otherwise defame its officers or employees, including without
limitation, Bill O’Reilly. In the case of Wittlieb (sic), for
purposes of this Paragraph 5(e), the term “Fox” shall mean the
released parties referenced in Paragraph 4(a) above, including
Bill O’ Reilly, and said released parties agree not to disparage,
trade libel, or otherwise defame Wittlieb. (sic) (emphasis
supplied).

(Second Amended Complaint, § 27).

Clearly the statements by defendant O’Reilly outlined in the Second Amended Complaint
constitute “disparagement” of plaintiff, and a breach of a contract to which defendant was both a
third-party beneficiary and an assignee.

Defendant falsely argues that the law prohibits a breach of contract suit against a third-
party beneficiary, citing N.. Gonzo Corp. v. Kiselman, 960 N. Y.2d 846, 848 (App. Div. 2012).
(Db 14). Like he misleads the court by completely ignoring and failing to cite the controlling law

of defamation in Zervos, defendant misleads the court regarding whether a third-party beneficiary

can be sued for breach of contract.

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In fact, N.F. Gonzo provides that a third-party beneficiary can be sued for breach of
contract if he assumes obligations under the agreement ~— which defendant O’ Reilly did in this
case. Defendant deliberately fails to include the following clear statement of the law in NF.
Gonzo:

It is well settled that a nonparty to a contract cannot be named as a
defendant in a breach of contract action unless the nonparty
assumed the obligations under the agreement (see Bartsch v.
Bartsch, 54 A.D.2d 940, 388 N.Y.S.2d 347 [1976]; International
Customs Assoc., Inc. v. Ford Motor Co., 893 F.Supp. 1251, 1255
[1995]) (emphasis added). .

Id. at 848.

Defendant O’ Reilly left out the exception to the rule that third-party beneficiaries cannot
be sued for breach of contract because he assumed obligations under the agreement. O’Reilly
specifically assumed and was assigned the obligation not to disparage Ms. Bernstein. Obviously,
the defamatory statements contained in the Second Amended Complaint disparage plaintiff —
something defendant O’Reilly was obligated not to do under the contract that released claims
against him specifically through his entity “Household Inc” and as an employee of Fox.

Thus, plaintiff has properly pled breach of contract under established New York law.

CONCLUSION

For the foregoing reasons, controlling New York defamation law requires that
defendant’s motion to dismiss be denied. Plaintiff's breach of contract claims also clearly meet
the pleading standard under New York law.

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Dated: May 16, 2019 fo" NEIL MUL

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